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 4                   IN THE UNITED STATES DISTRICT COURT FOR THE

 5                          EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,          )
                                        )
 8                  Plaintiffs,         )       No. 1:08-CR-00214 LJO
                                        )
 9            vs.                       )       ORDER OF RELEASE
                                        )
10   ROBERT LEE MARRS,                  )
                                        )
11                       Defendant.     )
                                        )
12
              The above named defendant having been sentenced on November
13
     28, 2011.
14
              IT IS HEREBY ORDERED that the defendant shall be released on
15
     Friday, December 9, 2011 to a representative of the Westcare
16
     Residential Drug Treatment Program. A certified Judgment and
17
     Commitment order to follow.
18

19
      IT IS SO ORDERED.
20
     Dated:     December 8, 2011           /s/ Lawrence J. O'Neill
21   b9ed48                            UNITED STATES DISTRICT JUDGE

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